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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit 5
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                                                                            Page 1

 1
 2      IN THE UNITED STATES DISTRICT COURT
        FOR THE DISTRICT OF SOUTH CAROLINA
 3      COLUMBIA DIVISION
        -------------------------------------x
 4      THE SOUTH CAROLINA STATE
        CONFERENCE OF THE NAACP
 5
                        and
 6
        TAIWAN SCOTT, ON BEHALF OF HIMSELF                  Case No.
 7      AND ALL OTHER SIMILARLY SITUATED                    3:21-CV-03302
        PERSONS,                                            JMC-TJH-RMG
 8
                                 Plaintiffs,
 9
                        Vs.
10
        THOMAS C. ALEXANDER, IN HIS OFFICIAL
11      CAPACITY AS PRESIDENT OF THE SENATE;
        LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
12      AS CHAIRMAN OF THE SENATE JUDICIARY
        COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
13      CAPACITY AS SPEAKER OF THE HOUSE OF
        REPRESENTATIVES; CHRIS MURPHY, IN HIS
14      OFFICIAL CAPACITY AS CHAIRMAN OF THE
        HOUSE OF REPRESENTATIVES JUDICIARY
15      COMMITTEE; WALLACE H. JORDAN, IN HIS
        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
16      OF REPRESENTATIVES ELECTIONS LAW
        SUBCOMMITTEE; HOWARD KNAPP, IN HIS
17      OFFICIAL CAPACITY AS INTERIM EXECUTIVE
        DIRECTOR OF THE SOUTH CAROLINA STATE
18      ELECTION COMMISSION; JOHN WELLS, JOANNE
        DAY, CLIFFORD J. EDLER, LINDA MCCALL,
19      AND SCOTT MOSELEY, IN THEIR OFFICIAL
        CAPACITIES AS MEMBERS OF THE SOUTH
20      CAROLINA STATE ELECTION COMMISSION,
21                                Defendants.
        ----------------------------------------x
22
           STENOGRAPHIC REMOTE VIRTUAL DEPOSITION
23                     CHARLES TERRENI
                  Tuesday, August 16, 2022
24
25

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 1                                  TERRENI
 2             in that lawsuit, but I don't
 3             specifically recall, but it wouldn't
 4             surprise me.
 5                  Q.      Did you consider or are you
 6             aware of anyone in the Senate who
 7             considered any sources of data on
 8             voting behavior as congressional
 9             maps were developed?
10                  A.      I'm sorry, I'm having
11             trouble with that question.                   Could
12             you restate it for me?                 Maybe if I
13             hear it again.
14                  Q.      Let me strike that.                I'm
15             going to move on to something else.
16                       You cited the Colleton County
17             case.      Do you dispute or have a
18             basis to dispute that there is --
19             that there continues to be racially
20             polarized voting in South Carolina?
21                  A.      I don't know one way or the
22             other honestly.          I mean I have heard
23             people say it, express their views
24             on that both ways.
25                  Q.      But you are not aware of

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                                                                  Page 244

 1                                  TERRENI
 2             whether a racially polarized voting
 3             analysis was conducted or are you
 4             aware whether racially polarized
 5             voting analysis was conducted by the
 6             Senate as maps were being developed
 7             for Congress?
 8                  A.      I am not aware that a
 9             racially polarized voting analysis
10             was conducted by the Senate as maps
11             were being developed for Congress.
12             I have no knowledge of such a thing
13             and I don't believe it occurred.
14                  Q.      Are you aware whether the
15             public or legislative members asked
16             for racially polarized voting
17             analysis to be conducted while
18             congressional maps were being
19             considered?
20                  A.      I'm aware that some members
21             of the public and one member of the
22             general assembly, at least, Senator
23             Harpootlian, asked or suggested that
24             it should be done.
25                  Q.      And do you know whether

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                                                                  Page 245

 1                                  TERRENI
 2             that was acted upon?
 3                  A.      Yeah.     I know it wasn't.
 4                  Q.      Who made the decision not
 5             to act upon those requests?
 6                  A.      The subcommittee.
 7                  Q.      Did they take a vote on
 8             that?
 9                  A.      I think they have.                 It was
10             during the, or at least they
11             declined to take a vote on it, but
12             the discussion we had in a public
13             subcommittee meeting in which
14             Senator Harpootlian advanced the
15             opinion that we should have a
16             racially polarized voting analysis
17             conducted in advance of the Senate
18             and congressional process.                  I
19             expressed the opinion that it was
20             not useful.       And the Senate, we did
21             not, at least implicitly, the
22             subcommittee did not agree with
23             Senator Harpootlian, and I mean that
24             just the Senate did not vote or
25             direct us to conduct that.                  I

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 1                                   TERRENI
 2             shouldn't say we.             I can't speak for
 3             them.
 4                       After this question can we
 5             take just a five-minute break?
 6                       MS. ADEN:       Yes.        Why don't we
 7              stop and we will return to that.
 8                       THE WITNESS:          I appreciate
 9              that.      We will come back at three
10              maybe.      Is that okay?
11                       MS. ADEN:       Sounds great.
12                       (Whereupon, there is a recess
13              in the proceedings.)
14                  Q.      Before the break I believe
15             you mentioned not agreeing that a
16             racially polarized voting analysis
17             was necessary, at least in the early
18             part of 2021.         Can you explain why?
19                  A.      Yes, ma'am.            We had no
20             reason to believe at the time that
21             we were going to have an issue with
22             Section 2 compliance.                 No claims had
23             been asserted.          Nobody really
24             threatened them.            The sixth
25             congressional district which would

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